Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 1 of 18




                                               E~ibit 3(e): Bedford


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                                Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 2 of 18

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                                                               SHEET METAL WORKERS' NATlO                                                        L HEALTH FUND
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                                                                   P.O. BOX 1449 • GOODlETTSVILlE,                                               TN 37070-1449

 , PAY                 ********95001.LARS                                         AND 8OCE/l.ITS-ll·;~                                                                                          DOUARSs '11-****95,                           20**
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  ,     OF
                                             HALLMARK HEALTH                                           SYSTEM,
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                                                                 SHEET METAL WORKER'S' NATIONAL HEALTH FUND
                                                                                                                                P.O. B            1449                        '-                                    R
                                                                                              Goodlettsville, Ten essee 37Q70-1449                                                              SMW+ P DGRAM
                                                                                        Toll-Free 800-831-4914     poone (615) 859-0131
                                                                                                          EXPLANAll0~                            OF BENEFITS
             FR£Jl"l                                   TO                       CHAR~ES                                                                   CHAR~ES                  COVERED                    AMO~NT
             DATE                                     DATE                    SUBMITTED                                                                   ALlOWED                  CHARGES                     , ~AID
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                        BRADFORD                                            MA            01835

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                            Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 3 of 18

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                            ET METAL                WORKERS
         o BOX 1449
         OODLETTSVILLE,                            TN           37070-1449




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                              Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 4 of 18

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                  Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 5 of 18




                    MEDICARE      NATIONAL        STANDARD        I
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     HALLMARK     HEALTH      SYSTEMS                 PROVIDER:                         MEDICARE
     100 HOSPITAL         ROAD                        ENDING: 1
     MALDEN MA        02148                           BILL TYPE

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     NAME:    .                                                                    SERVICE:     10/01/2002       TERTI 10/31/2002
     HIe:                           PCN:        V19070457  1                       MEDICARE PAYMENT         DATE: 12/03/2002
     MRN:    H0081528               ICN:        1231539763                         PAT STAT: 01             CLAIM STAT: 1
     ------------------------------~~-~-----PPS DATA
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                                                                        PAYMENT DATA
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Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 6 of 18




                                              Exhibit 3(1): Boehringer


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         Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 7 of 18




   Date:   3108/2004
   TIme:      4:25PM                                                                                                  Page:

   SPRINGFIELD    MEDICAL   ASSOC    INC
   PO BQX219                                                MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone: (800) 883-5985                                    Provider/Clinic#:
                                                                                                                        N51714

  Check No/EFT Trace No:                   127340082
  Date. Paid: 2/26/2004
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  NAME:
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PERF PROVo SERVICE DATES      pes NO:;; PROC       MODS BILLED     ALLOWED    DEDUCT          COINS        GRP/RG-AMT     PAID AMT_

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                                                          405.00    307.80       0.00           61.56         97.20           24624
PT Respon:     61.56
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                                    Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 8 of 18




          PlEASE
          DO NOT
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      MEDICARE                                -               MASS                                                                                                                                        IXlYES             D   NO        IfJ=,RllumIllIlJ1dCQmjliBlllilem9.-d.
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 31. SIGNATURE OF PHYSICIAN OR SUPPUER                                                           sa NUlE AAD ADOIIESS OF FAtDlTY                            WHEFIE SERVICES WERE                  $            682~00                1$         555.121                  ~ 126.179
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~TZEL,_ PAUL M.D.                                                                                SPRINGFIELD,            MA.01104-000                                                            P.O. BOX 219
~IC.* 039373 03/04/0                                                                                                                                                                             WINDSOR, CT 06095-0000

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         Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 9 of 18




   Dale:    31OB/2004
   Time:      4:25PM                                                                                           Page:

   SPRINGFIELD     MEDICAL ASSOC         INC
   PO BOX 219                                                    'MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone: (800) 8B3-5985                                          Provider/Clinic#:
                                                                                                                N51714

   Check No/EFT Trace No:
   Date Paid:         2/26/2004
                                               1273400l.EDACTED
  NAME: 1



PERF PROVo SERVICE DATES POS NOS PROC
                                                       MODS   SILLED    ALLOWED   DEDUCT   COINS    GRPIRC-AMT     PAIDAMT.
N51714      2/0212004 2/0212004    11   001    96410          245.00     243.10    0.00     48.62       1.90
N51714      210212004 2/02/2004                                                                                        194.48
                                   11   001    96408          175.00     172.76    0.00     34.55       224
N51714      2/02/2004 210212004 11                                                                                     13821
                                        001 . 90780 59        135.00.    130.86    0.00     26.17
N51714                                                                                                  4.14           104.69
           . 2/02/2004 2/0212004   11   001    99214 25       127.00     87.24     0.00     17.45      39.76           69.79
PI Respon: 126.79
                                          Claim Totals:       682.00     633.96    0.00    126.79      48.04           507.17




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                                 Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 10 of 18




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       ZIP CODE                                                        n:L.EPHONE                 [Jou:!udo AI •• Code}

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                                                                                                                                                                                                        ZIP CODE
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       9. OlliER             lIlSURED'S NAME ~Na                                   ••• , ("os! _,         r./W.'nIlfaJ)
                                                                                                                                  10-15 PATlE"1'S          CONomllN        RELATED TO:
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                                                                                                                                                                                                         11.INSUslEO·S               POlICV GIlOUP OR FECA NUMBER

       ~ OlliER              INSURED'S POLICY OR GROUP NUMBER
                                                                                                                                  •• EMPLOVMmT?             [CURRENT OR I'FIEvrOUS)                     •. INSURED'S DATE OF BlFml
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       D.OTHEIlINSURED'S DATE OF BDiTH                                                              SEX                                             DYES                JXJNO                                        n •.: fl7:                  1 q-:t7 .          M!XI
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      c. EYPLOVER'S                   IoIAME OR SCHOOL NAAIE
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      d.INSURANCE                    PlAN NAME OR PROGRAM tMME                                                                    • _.~[\                 YES           lXJNO                             SHEET METAL WORKERS NAT' L
                                                                                                                                 lCd RESERVED             FOR lOCllL USE                                d.IS THERf ANOTHER HfALlli                      ~EHEFlT PlAN?
      MEDICARE                                   - MASS
                                  RE4D BACK OF FORM BEFORE COMPL.ETlN<3 & SIGNING THIS I'ORII..                                                                                                             IXIvES                   0 NO            1lyes,'.lurnlo"""«XI1pIola~,"9a-d.
       12. PATIEIITS OR AUTllORIZ.EO !'fASON'S SIGNAllJlIE            'all""'rile 1110,•••••••• Dleoy modkal •• 011\0,;nlonnatloo I1IlceSSary                                                           l~.INSURED'SOR        AUTlJORIl:EO PERSON'S SlGNATURElaull1Dm.
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      14. DATE OFCUAREHT:
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                                                             . PREGI-IANCY(LMp)                                                 a1VE ARST DAlC
                                                                                                                                              DAlC          11~17-03
                                                                                                                            1S, IF PATIENT HAS HAD SAAlE OR SIMIlAR iLLNESS.
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      17. NAYE OF REFERRING PHYSICIAN OIl OTliERSQURCE                                                                                                                                                     FROI.4      'I                  TO,!
                                                                                                                            17•• LD. NUMBER OF REFERRING PHYSICIAN
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      HETZEL                                    PAUL C.                                                                         A68203                                                                           MM,DD,yv                                             MM,DD,VV
      19. RESERVE!) fOR lOCAl.. USE                                                                                                                                                                      . FROM       I!                                          TO!          I

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     21. OlAGNDSlS 011 NAllJlIEOF                                  'WlESSOR                  IN.nlRV. (RElATEITBIS            1.2,3 01l4TOITEM24EBVUNEj                    t                               DYES
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          174..                  .2                                                                                           :J. L-._                                                                 CODE                                      I ORIGINAL REF. NO.
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      2.1288                 .•0
     24.               ABC
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    :15. FEDERAl TAx tn. NUMBER                                   '.           ~        EIN           126. PA'f1EIIn>ACCDUNT              NO.         121. ACCEPT ASSIGNMENT?                          <t:"QQ[nn                                                                  ~.                         D..

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    Jt. SIGNATURE OF PHVSlClAN 011 5UPPUER                                                           /32. NAME AND ADORESS OFFACIl./TY WHERE Sl:RVlCESWERE                                         $        4519~OOI$3979J35                                                       539.J65
      INCLUOING DEGFlEEs OR CREOENTIALS                                                                   RENDERED IU oIh ••. 1I1an home 01 otrlal)                                              JJ. PHYSICIAN'S, SUPPUER'S                       BUING        NMlE, ADDRI ss. ZIP        cooi;
      (lalrlilylballhe_on              ••••• lI1olllVD""                                            SPRINGFIELD .MEDICAL ASSOC                                                                       ! PIIONE t                                                                                   •
1r::n-o~"'lhlobllJ.IIl""'l1IadeaJl'WlIh"""'LJ                                                     )~2150. MAIN ST, STE 1000                                                                        SPRINGFIELD                                    MEDICAL A SOC                                               i
~TZEL,                                PAUL M.D.                                                           SPRINGFIELD, MA 01104-000                                                               P.O. BOX 219                                                                             _.-
~IC.# 039373                                                       03/04/0                                                                                                                        WINDSOR, CT 06095-0000
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                                                                                                                                         PLEASE PRINT OR TYPE                                                                                                                                                                  j.
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         Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 11 of 18




   Dale: .   3/08/2004
   Time:       4:25PM                                                                                                  Page:             1


   SPRINGFIELD         MEDICAL           ASSOC    INC
   PO BOX 219                                                            -MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone:    (BOO)883-5985                                               Provider/Clinic#:
                                                                                                                         N51.714
   Check No/EFT Trace No:                               127340082
   Date Paid~                2/26/2004


  NAME:
                                                                                                                               ·500


PERF PROVo SERVICE DATES POS NOS PROC
                                                                MODS BILLED    AlLOWED   DEDUCT   COINS    GRP/RC-AMT          PAIDAMT.
N51114        2/0212004 2102/2004          11    011    J9000         627.00     89.76    0.00     17,95      537.24
N51714        2/0212004 2/0212004                                                                                               71.61
                                           11    011    J9070         68.00      56.43    0.00     11.29      31.57             45.14
N51714        2/0212004·2/0212004          11    010    J1100         50.00      1.00     0.00     0.20       49.00
N51714                                                                                                                           0.80
              210212004 2/0212004          11    003    J7040         36.00      16.92    0.00     3.36       19_08             13.54
N51714        2/03f2004 2/0312004         11     001    J2505        3668.00   2507.50    0.00    501.50     1180.50
N51714                                                                                                                         2006.00
              2/03/2004 2/0312004         11     001    90762         30.00     26.66     0.00     5.33       3.34              21.33
PTRespon:      539.65                              Claim Total~:     4519.00 . 2696.27    0.00    539.65     1620.73           2158.62




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                                Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 12 of 18


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              PROVIDER TIIX 1.0. if:
                   042767880                                                                                                                                             10     'NQ 05880:83
                                                                                                                                                                                     12/:;20/2:002
                                                     SHEEr      METAL WORKERS' NATION                              L HEALTH FUND,
                                                                                                                                                                                         DAlE ISSUED
                                                        p.o. BOX 1449 • GOODlETTSVIlLE,                             TN 37070-1449
i       PAY            **~*****95POLLARS A~m 20CENT5**                                                                                                            OOUAAS$        *****9::',. 20**
, TOlliE
;       ORDER
                                          r                                                                                     0588583
,             OF
                                            HAJ_LMARK HEALTH SVSTEt'i,
                                                                                                                                                              AlitHbRiZED        SIGNATtJRE'       "
                                            100 HOSP!TAL RD

                                           W:.1ALDEN                                                                                                    NON' NEGOTIABLE.                                     ,
                                                                                                                                                              AUTHORIZED S'II:'iNATURE




                                                       SHEET METAL WORKER'S' NATIONAL HEALTH FUND
                                                                                                 p.D.B               1449                      "
                                                                             Goodlettsville Ten essee 37070-1449                                                  ~W+          PROGRAM
                                                                       Toll-Free 800-831-4914    Pno'ne (615) 859-0131
                                                                                   EXPLANATION                      OF BENEFITS

              FRO"I                              TO                  CHARGES                                        N       CHAR.GES               COVERED                     M10UNT
              DATE                             DATE             SL~MITTED                                           D       AL~OWEO                CHARGES                     , ~AID

         10/0:1/2002                      10J31/2002                 2720.00                                                 . 95.20                 95. 20                     9'5.20

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                        BRADFORD                               MA        01835

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                                                                                                                      MINIS1RATORS, INC.


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                               Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 13 of 18


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          LLMARK-HEALTH                                                                       2

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                               PAGE:                     01 OF 02
                  DICARE PART A                                                                     20070
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      B31llEAlMENT       AlJlKORlZA11O/j CODES                             B4E   B5 EMPLO\'Ell NAME




                                                                      TN         37070-1449




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                   Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 14 of 18


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                                          TN   37070-1449



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                   Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 15 of 18




                        MEDICARE NATIONAL      STANDARD I         RMEDIARY REMITTANCE ADVICE
     =~~=======~=~====~===:===~==~============================~=====~=========~==~==
     HALLMARK  HEALTH SYSTEMS                      PROVIDER:                        MEDICARE
     100 HOSPITAL ROAD                             ENDING; 1
     MALDEN        MA     02148                    BILL TYPE

     ===~=======~=;==~==~~====~=============
     NAME:     .
                                                               ~~~==;;;~~~;~=~~7~~i;;~;=;~~=~
                                                                           MEDICARE PAYMENT        DATE:      12/03/2002
     HIC:                            PCN: V19070457 1
     MRN: H0081528                   reM: 1231539763                       PAT STAT: 01            CLAIM      $TAT: 1
     ----------------------------~----------                   ---~----------------~-------------------
                    CHARGES                              PPS DATA                                  PAYMENT         DATA

     REPORTED                     2720.00    DRG                                     000 HElME   RATE               :           O.OO
     NON-cOVERED                   219.00    DRG AMOUNT                            0.00 PROF COMP                               0.00
     DENIED .. _ ...•...•.....       O. 00   DRG/OPERATlO      ........•           0.00   PERDIEM          _ ........•.••          0
                                             DRG/CAPITAL                           0.00 INTEREST                                0.00
                                             OUTLIER ( )..     _ •.••      _ .•.   0 . 00

                        DAYS
                                             BLOOD    DEDUCT                        0.00
     COVERED       DAYS              OOOO TOTAL DEDUCT                              0.00 CONT ADJ AMT                       1957.70
     NO~-COVERED          DAYS      ;0000 CO-INSURANCE                             95.20 NET RElME' AMT                      448.10
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             Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 16 of 18


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                                                                                                                                      09/13/2001
                                                                                                                                        Dale Issued


                                                                                                              . Amount Paid:

                                                                                                                                                          ~'
                  NEW 8EDFORD,·MA 02.740 .

                L'
                                           File Copy                        This is not a Check
                                           SHEET METAL WORKERS' NATIONAL'HEALm                                       FUND
                                                              P.o. Box 1449
                                                     Goodlettsville, TN. 37070-1449
Claim No. 1535299                            Phone (615) 859-0131 Toll-free (800) 831-4914                                  Check No. 0058078
                                                       Explanation of BenefJts                                   SMW+ Proaram




            12/29/2000               - 12/29/2000          $57.00          $0.00                 $4.54             $4.54       $4.54




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Comments:




-- SULLIVAN, FREDERICK
   221 RICHMOND ST
     NEW BEDFORD~ MA 02740
                                                                               rC1J.IJL1tJQln.

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                                                                                        Claim Number:            1535299




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                                                    Proc;essed   by   ~       !ldministratoTs, Inc.




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                   Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 17 of 18
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                                                                                 -   1 CUSTOMER SERVICE INFORMA nON
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                      FREDERICK J SULLIVAN
                      221 RICmrOND ST                                                Hyou bave questions, write or call:
                     NEW BEDFORD MA 02740-5620                                         National Heritage Insurance Company.
                                                                                         P.O. Box 1000
                    III"",I.II ••,I.I••lllulllal"II ••••I,OI.uul,lmlll.,1II              Hingham, MA 02044                          '

                                                                                         Local: (781) 741-3300
                                                                                         Toll-free: 1-800':882-1228
                  HELP STOP FRAUD: Always review your Medicare                           TIY For Hearing Impaired:                       1-800-559~0443
                  Summary Notice, fur correct infon:nation ?-bout the
                  items or ;services you-received.               .                                 ~   .-   •••   J    •    •




                                               This is ~ summary of claims ·processed from 01/02/200 I through 01/26/2001.

                  PART B MEDICAL INSlJRANCE - ASSIGNED CLAIMS


                     Dates                                                                                            Medi!:are           You       See
                      of                                                      Amount          Medkare                  Paid              MayBe     Notes
                    Service               Senices Provided                    Cbarged         Approved.               Provider           BiUeiI    Section


                   Claim number 01-00356-057-390
                   Andrew J Dadagian Md In, C, Roman House Annex,
                      386 County St ,New Bedford, MA 02740-4932
                   Dr. Dadagian, Andrew 1. M.D.                                                                                                               ,

                   12/ll/00 .      1 RI:move impacted ear wax (69210)           $80.00          $51.21                     $40.97


                   Claim numb<-..r02-0101 1-460-700                                                                                                          t-~
                                                                                                                                                             c:
                   Hawthorn Medical Associ, P.O. Box 3976.
                      Boston, MA 02241...0001                                                                                                                "
                   Dr. Chamond, Siroth MD.
                   1lI22/00          4- Methotrexate sodium inj (19260)         $24.00          $18.04                     $14.43
                   1l/22100          llnj:Ction, scTun (90782)                   33.00             4.66                      3.73
                          Claim Total                                           $57.00          $22.71)           .        518.16


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       08180D                                     TIllS IS NOT A BILL - Keep.this -noticefor your records.
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     Case 1:01-cv-12257-PBS Document 4684-5 Filed 09/05/07 Page 18 of 18
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    Your Medicar __                                                                                                   Page 2 of4
                                                                                                                    JanuaI)' 29, '2001

    PART B MEDICAL INSURANCE - ASSIGNED CLAIMS (continued)
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-     Dates
       of
     Service           Services Provided
                                                                    Amount'
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                                                                                                   MedicaTe
                                                                                                    Paid
                                                                                                                    You
                                                                                                                   MayBe
                                                                                                                                     See
                                                                                                                                    Notes
                                                                    Charged           Approved     Provider        Billed           'SectiOD


     Claim number 02-o035G~544-o50
     Hawthorn Medical Associ, P.O. Box 3076,
        Boston;'MA 02241-0001
     Dr. Egan, Michael W. MD.
     12/13/00            1 Flu vaccine, 3 yrs, Un (90658)             $25.00              $4.92  $4:92                                b
     12/13/00        . 1 Admin influeirza vims vae (GO008)              8.00                4.66  4.66                                b
     12113/00          . 4'Methotrexate sodium inj (J9260)           . 24.00         18.04       14.43                                a
     12113/00            11n~tion, sclim (90782)                       33.00          0.-00       0.00                                c,a
           CI:,rlm Tot,aI .                   , .,' .                 S90.00 .. .' '$~7-~62.-: ,~14:.01


      Claim number 02-00363-395-520
     .Hawthorn Medical Associ, 1'.0. Box 3076,
          Boston, MA 02241..0001"
      Dr. Davidson, Gail M.D.
      -11J20/00         4 Methotrexate sodium inj (J9260)             $24.00            $lS .04      $14.43                           a
       12/20/00         1 In~clion, scfuu (90182)                      33.00                4.66       3.73
             Claim Total                                              $57.00            $22.70       $18.16


     Claim m.irnber 02-01011-456-170
     Hawtborn Medical Associ, P.O. Box 3076,
        Boston, MA 02241-0001
     Dr. Egan, Michael W. MD.
      12129/00       4 Methotrexate sodium'inj (19260)                $24.00            $18.04   $14.43
      12129/00        1 Inj:ct.ion.,sc/im (90782)                       33.00             4.66     3,73
           Claim Total                                               , $57.00           $Z2.70 . $18.16


     Claim number02-Q1018-441-100                                                                                                              ";:.


     HawtlIDrn Medital Associ, P.O. Box 3076,
        Boston, MA 02241-6001
     Dr. Egan, Michael W. M.D.
     Oil05/01          1 Inp;tion., saun (90782)                      $33.00              $4.96                                       d




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                                                                                                                       SMWMASS 001002
